7/13/24, Case
         5:31 PM2:24-cv-01631-MWF-PVC                            Document 31-3 Status
                                                                       Trademark Filed& Document
                                                                                        07/13/24       Page 1 of 2 Page ID #:345
                                                                                                 Retrieval


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    messages you have received.



     STATUS        DOCUMENTS           MAINTENANCE                                                                              Back to Search          Print

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                          Mark: BRANDON JOE WILLIAMS




           US Serial Number: 97335158                                                         Application Filing Date: Mar. 29, 2022

     US Registration Number: 7171251                                                                Registration Date: Sep. 19, 2023

                      Register: Principal

                    Mark Type: Service Mark

         TM5 Common Status                                                             LIVE/REGISTRATION/Issued and Active
                Descriptor:
                                                                                       The trademark application has been registered with the Office.



                        Status: Registered. The registration date is used to determine when post-registration maintenance documents are due.

                  Status Date: Sep. 19, 2023

              Publication Date: Feb. 21, 2023                                               Notice of Allowance Date: Apr. 18, 2023


    Mark Information

       Mark Literal Elements: BRANDON JOE WILLIAMS

   Standard Character Claim: Yes. The mark consists of standard characters without claim to any particular font style, size, or color.

          Mark Drawing Type: 4 - STANDARD CHARACTER MARK

      Name Portrait Consent: The name BRANDON JOE WILLIAMS identifies a living individual whose consent is of record.


    Goods and Services

  Note:
  The following symbols indicate that the registrant/owner has amended the goods/services:
         Brackets [..] indicate deleted goods/services;
         Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
         Asterisks *..* identify additional (new) wording in the goods/services.
                           For: Financial consultancy; Financial information and advisory services

      International Class(es): 036 - Primary Class                                                       U.S Class(es): 100, 101, 102

                 Class Status: ACTIVE

                     First Use: Feb. 14, 1986                                                       Use in Commerce: Jan. 28, 2004


    Basis Information (Case Level)

                     Filed Use: No                                                                      Currently Use: Yes

                     Filed ITU: Yes                                                                      Currently ITU: No

                     Filed 44D: No                                                                      Currently 44D: No

                     Filed 44E: No                                                                      Currently 44E: No

                     Filed 66A: No                                                                      Currently 66A: No

               Filed No Basis: No                                                                 Currently No Basis: No


    Current Owner(s) Information

https://tsdr.uspto.gov/#caseNumber=97335158&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch                                              1/3
7/13/24, Case
         5:31 PM2:24-cv-01631-MWF-PVC                      Document 31-3 Status
                                                                 Trademark Filed& Document
                                                                                  07/13/24       Page 2 of 2 Page ID #:346
                                                                                           Retrieval

                   Owner Name: Williams, Brandon Joe

                 Owner Address: 2315 Paseo De Cima
                                Glendale, CALIFORNIA UNITED STATES 91206

            Legal Entity Type: INDIVIDUAL                                                   Citizenship: UNITED STATES


    Attorney/Correspondence Information

  Attorney of Record

             Docket Number: 113-86019705

  Correspondent

                 Correspondent Williams, Brandon Joe
                 Name/Address: 2315 PASEO DE CIMA
                               GLENDALE, CALIFORNIA UNITED STATES 91206

                        Phone: 213-309-7138

        Correspondent e-mail: ftschristianministry@protonmail.com                 Correspondent e-mail Yes
                                                                                           Authorized:

  Domestic Representative - Not Found


    Prosecution History

 Date                                                  Description                                   Proceeding Number

 Sep. 19, 2023                                         NOTICE OF REGISTRATION CONFIRMATION
                                                       EMAILED

 Sep. 19, 2023                                         REGISTERED-PRINCIPAL REGISTER

 Aug. 18, 2023                                         NOTICE OF ACCEPTANCE OF STATEMENT OF USE
                                                       E-MAILED

 Aug. 17, 2023                                         ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED

 Jul. 24, 2023                                         STATEMENT OF USE PROCESSING COMPLETE

 Jun. 30, 2023                                         USE AMENDMENT FILED

 Jul. 24, 2023                                         CASE ASSIGNED TO INTENT TO USE PARALEGAL

 Jun. 30, 2023                                         TEAS STATEMENT OF USE RECEIVED

 Apr. 18, 2023                                         NOA E-MAILED - SOU REQUIRED FROM
                                                       APPLICANT

 Feb. 21, 2023                                         OFFICIAL GAZETTE PUBLICATION CONFIRMATION
                                                       E-MAILED

 Feb. 21, 2023                                         PUBLISHED FOR OPPOSITION

 Feb. 01, 2023                                         NOTIFICATION OF NOTICE OF PUBLICATION E-
                                                       MAILED

 Jan. 13, 2023                                         APPROVED FOR PUB - PRINCIPAL REGISTER

 Jan. 13, 2023                                         ASSIGNED TO EXAMINER

 Apr. 04, 2022                                         NEW APPLICATION OFFICE SUPPLIED DATA
                                                       ENTERED

 Apr. 01, 2022                                         NEW APPLICATION ENTERED


    TM Staff and Location Information

  TM Staff Information - None

  File Location

            Current Location: PUBLICATION AND ISSUE SECTION                            Date in Location: Aug. 17, 2023


    Assignment Abstract Of Title Information - None recorded


    Proceedings - None recorded
https://tsdr.uspto.gov/#caseNumber=97335158&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch           2/3
